                                                                        GRANTED, and the April 5, 2013
                                                                        sentencing is RESET to APRIL 19,
                                                                        2013 AT 11:00 a.m.


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       NO. 2:11-cr-00002-33
                                             )       Judge Trauger
JOHN NANCE                                   )

                   MOTION TO CONTINUE SENTENCING HEARING

       The Defendant, John Nance, by and through counsel, hereby moves to continue his

sentencing hearing scheduled for April 5, 2013 at 11:00 A.M. The Defendant requests the

sentencing hearing for two weeks after April 5, 2013.     In support of this Motion, the Defendant

would state as follows:

       Mr. Nance’s wife has recently been released from the hospital after suffering a severe asthma

attack. She was in the hospital for five days last week. Mr. Nance wants his wife to be able to be

present at his sentencing hearing. Since Ms. Nance has been out of work due to the hospitalization

and Mr. Nance’s work had been slow until recently, he needs a little time to save up some money

so that his wife can make the trip from South Florida to Nashville with him for his sentencing

hearing. Therefore, he requests a short two week continuance of his sentencing hearing.

       The Government does not oppose a continuance in this matter. Mr. Nance requests that his

sentencing hearing be reset for April 19, 2013 or soon thereafter.

       Respectfully submitted this 21st day of March, 2013.



                                                     s/ Charles D. Buckholts
                                                     Charles D. Buckholts, BPR #019318
                                                     Attorney for Defendant
                                                     2400 Crestmoor Rd.
                                                     Nashville, TN 37215



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